Case 4:20-cv-05640-YGR   Document 1547-2   Filed 05/08/25   Page 1 of 4




                  EXHIBIT A
                  (Redacted)
                                                                                 Case 4:20-cv-05640-YGR                                                   Document 1547-2                                                 Filed 05/08/25                           Page 2 of 4
                                                                                                                                              Privilege Log Entries
Bates Number of Parent Number             Production           Production End Custodians          DocDate       DocTime            From       To          Cc                                         Subject              OriginalName     Redact or   PrivilegeType    Privilege              Additional Privilege       Attorneys, Legal Staff, and     Special Master
Document (Folder Title)                   Beginning Bates      Bates                                                                                                                                                                       Withhold                     Description            Context                    Employees acting at the         Determinations
                                                                                                                                                                                                                                                                                                                          direction of counsel            (Priv - Yes; Priv -
Email about Apple’s Injunction Response (Entry No. 4872)
PRIV-APL-EG_00198869       4872           PRIV-APL-            PRIV-APL-          Barton, Nate;   2024-05-16    05:00:10           Ling Lew   Kunal Vij   Timo Kim                             ;     Re: Effective rates - 20240515-2200 Withhold      AttorneyClient   Email chain related Communications with           Jennifer Brown (Apple in-house Yes
                                          EG_00198869          EG_00198871        Vij, Kunnal;                                                            Nate Barton                                hearing prep          Re: Effective                                to legal advice      counsel requesting data      counsel); Ling Lew (Apple in-
                                                                                  Kim, Timothy                                                                                 ; Jennifer                                  rates - hearing                              prepared at the      points related to            house counsel); Sean Cameron
                                                                                                                                                          Brown                                                            prep.eml                                     direction of counsel Wisconsin.                   (Apple in-house counsel)
                                                                                                                                                                                                                                                                        regarding injunction
                                                                                                                                                          Sean Cameron                                                                                                  compliance analysis
                                                                                                                                                                                       ;                                                                                of commission rate,
                                                                                                                                                          Fred Sainz                                                                                                    prepared in
                                                                                                                                                                                                                                                                        anticipation or
                                                                                                                                                                                                                                                                        furtherance of
                                                                                                                                                                                                                                                                        litigation

Emails Regarding Apple’s Regulatory Response to the Digital Markets Act (Entry Nos. 5110, 5261, 5358, 5359, 5360, 5370 and 5408)
PRIV-APL-EG_00200298      5110           PRIV-APL-             PRIV-APL-          Moore, Ken;      2023-11-29     14:53:08                    Jeff Wilder Charles Paillard                           Re: Art 5.4/5.7   20231129-0653 Withhold          AttorneyClient   Email chain           Email chain with in house   Ling Lew (Apple in-house        Yes
                                         EG_00200298           EG_00200301        Wilder, Jeff;                                                                                  Brendan             Linking out -     Re: Art 5.4-5.7                                  reflecting legal      counsel requesting          counsel); Brendan McNamara
                                                                                  Kirtane, Latika;                                                        McNamara                                   commission Cont'd Linking out -                                    advice from counsel additional details to         (Apple in-house counsel); Tom
                                                                                  Kim, Timothy                                                                                                                         commission                                       regarding injunction support legal analysis of    McNamara (Apple in-house
                                                                                                                                                            ; Eric Albert                                              Cont'd.eml                                       compliance            ongoing regulatory issue.   counsel); Charles Paillard
                                                                                                                                                                               ; Ling Lew                                                                               requirements for link                             (Apple in-house counsel)
                                                                                                                                                                                ; Latika                                                                                format and buttons.
                                                                                                                                                          Kirtane Raman
                                                                                                                                                                             ; Ken Moore

PRIV-APL-EG_00201500       5261           PRIV-APL-            PRIV-APL-          Kirtane, Latika; 2023-11-13   19:39:27                      Nick        Ling Lew                                 ; Re: 3P Attribution   20231113-1139 Withhold       AttorneyClient   Email chain                                       Lacey Elmore (Apple in-house Yes
                                          EG_00201500          EG_00201501        Kim, Timothy                                                Kistner     Savannah Wu                                Post-                Re: 3P                                        reflecting                                        counsel); Fitz FitzGerald (Apple
                                                                                                                                                                                      ; Fitz                              Attribution Post-                             information for the                               in-house counsel); Adil Karrar
                                                                                                                                                          FitzGerald                       ;                                    .eml                                    purpose of obtaining                              (Apple in-house counsel); Ling
                                                                                                                                                          Lauren Henske                                                                                                 legal advice from                                 Lew (Apple in-house counsel);
                                                                                                                                                                               ; Michael                                                                                employees acting                                  Steve Wu (Apple in-house
                                                                                                                                                          Keller                                                                                                        under the direction                               counsel)
                                                                                                                                                                                                                                                                        of counsel regarding
                                                                                                                                                          Anne Zelek                           ;                                                                        foreign regulatory
                                                                                                                                                          Latika Kirtane Raman                                                                                          issues in the
                                                                                                                                                                            ; Lacey                                                                                     European Union,
                                                                                                                                                          Elmore                           ;                                                                            including DMA
                                                                                                                                                          Adil Karrar


PRIV-APL-EG_00202671       5358           PRIV-APL-            PRIV-APL-          Kirtane, Latika 2024-02-01    22:58:59                                                                                                  Draft email to PS Withhold   AttorneyClient   Document reflecting                               Ling Lew (Apple in-house        Yes
                                          EG_00202671          EG_00202677                                                                                                                                                on DMA timeline                               legal advice from                                 counsel)
                                                                                                                                                                                                                          (please provide                               counsel regarding
                                                                                                                                                                                                                          feedback).pdf                                 foreign regulatory
                                                                                                                                                                                                                                                                        issues in the
                                                                                                                                                                                                                                                                        European Union,
                                                                                                                                                                                                                                                                        including DMA




PRIV-APL-EG_00202671       5359           PRIV-APL-            PRIV-APL-          Kirtane, Latika 2024-02-07    01:21:24                                                                                                  Screenshot     Withhold      AttorneyClient   Document related to                               Per parent Document Ling Lew    Yes
                                          EG_00202678          EG_00202678                                                                                                                                                2024-02-02 at                                 information for the                               (Apple in-house counsel)
                                                                                                                                                                                                                          9.33.45?AM.png                                purpose of obtaining                              comments on content of slide
                                                                                                                                                                                                                                                                        legal advice from
                                                                                                                                                                                                                                                                        counsel regarding
                                                                                                                                                                                                                                                                        foreign regulatory
                                                                                                                                                                                                                                                                        issues in the
                                                                                                                                                                                                                                                                        European Union,
                                                                                                                                                                                                                                                                        including DMA
                                                                Case 4:20-cv-05640-YGR                                              Document 1547-2                                     Filed 05/08/25                         Page 3 of 4
                                                                                                                         Privilege Log Entries
Bates Number of Parent Number   Production        Production End Custodians    DocDate        DocTime    From            To         Cc                                Subject           OriginalName   Redact or   PrivilegeType    Privilege              Additional Privilege     Attorneys, Legal Staff, and       Special Master
Document (Folder Title)         Beginning Bates   Bates                                                                                                                                                Withhold                     Description            Context                  Employees acting at the           Determinations
                                                                                                                                                                                                                                                                                    direction of counsel              (Priv - Yes; Priv -
PRIV-APL-EG_00202671   5360     PRIV-APL-         PRIV-APL-      Kirtane, Latika 2024-02-07   01:21:24                                                                                  Screenshot     Withhold    AttorneyClient   Document related to                             Per parent Document Ling Lew      Yes
                                EG_00202679       EG_00202679                                                                                                                           2024-02-06 at                               information for the                             (Apple in-house counsel)
                                                                                                                                                                                        5.19.33?PM.png                              purpose of obtaining                            comments on content of slide
                                                                                                                                                                                                                                    legal advice from
                                                                                                                                                                                                                                    counsel regarding
                                                                                                                                                                                                                                    foreign regulatory
                                                                                                                                                                                                                                    issues in the
                                                                                                                                                                                                                                    European Union,
                                                                                                                                                                                                                                    including DMA

PRIV-APL-EG_00202733   5370     PRIV-APL-         PRIV-APL-      Kirtane, Latika 2023-11-27   18:40:53                                                                                  Apple DMA Brain Withhold   AttorneyClient   Draft document       Regulatory compliance   Ling Lew (Apple in-house     Yes
                                EG_00202733       EG_00202841                                                                                                                           Dump.pdf                                    reflecting legal     document and discussion counsel); Martin Gudmundsson
                                                                                                                                                                                                                                    advice from counsel  including and largely   (Apple in-house counsel)
                                                                                                                                                                                                                                    regarding foreign    driven by counsel
                                                                                                                                                                                                                                    regulatory issues in
                                                                                                                                                                                                                                    the European Union,
                                                                                                                                                                                                                                    including DMA

PRIV-APL-EG_00203226   5408     PRIV-APL-         PRIV-APL-      Kirtane, Latika 2024-01-22   23:39:46   Tim Triemstra   Bob (DP)   Prathima Velamuri                 Re: Approved terms 20240122-1539 Withhold    AttorneyClient   Email chain          The client seeks legal      Documents indicates that         Yes
                                EG_00203226       EG_00203228                                                            Thomas                            ; Latika   for                Re: Approved                               providing            advice for app store's IAP. counsel of Apple Legal sought.
                                                                                                                                    Kirtane Raman                                        terms for .eml                             information for the
                                                                                                                                                       ; Susan                                                                      purpose of obtaining
                                                                                                                                    Conant                       ;                                                                  legal advice from
                                                                                                                                    Kyle Louis                                                                                      counsel regarding
                                                                                                                                                           ; Laurel                                                                 foreign regulatory
                                                                                                                                    McAndrews                                                                                       issues in the
                                                                                                                                                                                                                                    European Union
                                                                                                                                    Shannon Williams                                                                                including DMA

                                                                                                                                    Jeff Hayward
                                                                       Case 4:20-cv-05640-YGR                                                   Document 1547-2                                                  Filed 05/08/25                             Page 4 of 4

Bates Number of Parent Number               Production             Production End   Custodians       DocDate        DocTime    From        To       Cc                                    Subject              OriginalName   Redact or   PrivilegeType     Privilege            Additional Privilege          Attorneys, Legal Staff, and    Special Master
Document (Folder Title)                     Beginning Bates        Bates                                                                                                                                                      Withhold                      Description          Context                       Employees acting at the        Determinations
                                                                                                                                                                                                                                                                                                               direction of counsel           (Priv - Yes; Priv -
Email Between Non-Legal Apple Employees (Entry No. 5173)
PRIV-APL-EG_00200827 5173                  PRIV-APL-               PRIV-APL-        Barton, Nate; Vij, 2023-02-06   01:14:17   Kunal Vij   Nate     Timothy Kim                           Re: Privileged and   20230205-1714 withhold     AttorneyClient    Email chain with     lawyer discussing DMA         Curtis Box (Apple in-house     Yes
                                           EG_00200827             EG_00200828      Kunnal; Kim,                                           Barton                                         Confidential         Re: Privileged and                           redacted text        planning with client          counsel)
                                                                                    Timothy                                                                                                                    Confidential.eml                             reflecting work
                                                                                                                                                                                                                                                            product from
                                                                                                                                                                                                                                                            counsel regarding
                                                                                                                                                                                                                                                            foreign regulatory
                                                                                                                                                                                                                                                            issues in the
                                                                                                                                                                                                                                                            European Union,
                                                                                                                                                                                                                                                            including DMA
Emails Regarding Apple’s Regulatory Response in the Netherlands (Entry No. 5638)
PRIV-APL-EG_00205497 5638                    PRIV-APL-              PRIV-APL-       Kosmynka,        2022-01-07     01:02:46   Trystan     Eric Gray Jeff Robbin                    Re: Dutch storefront 20220106-1702 Withhold           AttorneyClient;   Email chain          Includes both legal advice    Kyle Andeer (Apple in-house     Yes
                                             EG_00205497            EG_00205499     Trystan                                    Kosmynka              Sean Cameron                   dating apps --       Re: Dutch                        WorkProduct       providing legal      regarding a Dutch             counsel); Sean Cameron (Apple
                                                                                                                                                                                    compliance project storefront dating                                    advice from counsel compliance meeting, as         in-house counsel); Sean Dillon
                                                                                                                                                    Philip Schiller                                      apps --                                            regarding foreign    provided by counsel and       (Apple in-house counsel); Jinny
                                                                                                                                                                       Matt Fischer                      compliance                                         regulatory issues in requests for information by   Park (Apple in-house counsel)
                                                                                                                                                                          ; Sam                          project.eml                                        the Netherlands for counsel to assist in
                                                                                                                                                    Gharabally                 ;                                                                            dating apps          preparing a response to
                                                                                                                                                    Carson Oliver                                                                                           prepared in          Dutch competition
                                                                                                                                                                             ; Ann                                                                          anticipation or      regulator.
                                                                                                                                                    Tha                    ; Daniel                                                                         furtherance of
                                                                                                                                                    Erlewine                                                                                                litigation
                                                                                                                                                    Kyle Andeer                       ;
                                                                                                                                                    Sean Dillon                   ;
                                                                                                                                                    Doug Vetter                  ;
                                                                                                                                                    Keith Kowalczykowski
